Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 1 of 27 PageID: 779
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 2 of 27 PageID: 780
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 3 of 27 PageID: 781
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 4 of 27 PageID: 782
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 5 of 27 PageID: 783
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 6 of 27 PageID: 784
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 7 of 27 PageID: 785
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 8 of 27 PageID: 786
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 9 of 27 PageID: 787
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 10 of 27 PageID:
                                   788
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 11 of 27 PageID:
                                   789
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 12 of 27 PageID:
                                   790
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 13 of 27 PageID:
                                   791
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 14 of 27 PageID:
                                   792
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 15 of 27 PageID:
                                   793
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 16 of 27 PageID:
                                   794
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 17 of 27 PageID:
                                   795
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 18 of 27 PageID:
                                   796
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 19 of 27 PageID:
                                   797
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 20 of 27 PageID:
                                   798
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 21 of 27 PageID:
                                   799
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 22 of 27 PageID:
                                   800
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 23 of 27 PageID:
                                   801
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 24 of 27 PageID:
                                   802
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 25 of 27 PageID:
                                   803
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 26 of 27 PageID:
                                   804
Case 3:16-md-02738-MAS-RLS   Document 75   Filed 12/07/16   Page 27 of 27 PageID:
                                   805
